Case 3:18-cr-00049-CAR-CHW Document 15 Filed 09/26/18 Page 1 of 3

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF GEORGIA

UNITED STATES OF AMERICA,

Plaintiff,
VS. CASE NUMBER:3:18-CR-49-001-CAR-CHW
KYLE LAMAR MYERS,

Defendant.

 

MOTION TO CONTINUE

Comes now, KYKE LARMAR MYERS, Defendant, by and through counsel, Patrick D.
Deering and files this his Motion to Continue the trial of the above styled case. In support there of
the defendants states as follows.

1.

The defendant has not received the discovery in the case and is not prepared to proceed to
trial. Defendant expects to file a motion to suppress. Defendant requires additional time to prepare
his motion to suppress. Defendant will waive speedy trial if necessary to continue the trial date.

2.
The U.S Attorney has informed counsel for the defendant that the government does not object

to the continuance of the trial date.

Wherefore, the defendant respectfully prays the court grant his motion to continue.

 
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Respectfully submitted this 26 day of September 2018.

    

BY;

 

 

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TRICK D. DEERING
ttorney for Defendant
Georgia Bar ID No.: 215826
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Case 3:18-cr-00049-CAR-CHW Document 15 Filed 09/26/18 Page 3 of 3

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Defendant.

 

CERTIFICATE OF SERVICE

 

I do hereby certify that I have this day served the following persons with the above and

foregomg MOTION TO CONTINUE, by electronic filing and U.S. Mail postage prepaid, to:

U.S Attorney’s Office
Middle District of Georgia
P.O. Box 1702

Macon Ga. 30202-1702

This 26 day of September 2018.

  
 

wl AX

& RIEK TS, DEERING
ttorney for Defendant

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